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15   KIMCO STAFFING SERVICES, INC.
16                      UNITED STATES DISTRICT COURT
17                    CENTRAL DISTRICT OF CALIFORNIA
18   U.S. EQUAL EMPLOYMENT               Case No.: 5:19-cv-01838 JFW (SPx)
     OPPORTUNITY COMMISSION,
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                                         JOINT STIPULATION TO AMEND
20              Plaintiff,               KIMCO CONSENT DECREE TO
                                         EXTEND FROM FEBRUARY 23,
21
          vs.                            2024, TO JUNE 24, 2024;
22                                       [PROPOSED] ORDER
23
     KIMCO STAFFING SERVICES,
     INC., RYDER INTEGRATED
24   LOGISTICS, INC., and DOES 1-10,
25
     inclusive,

26              Defendants.
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 1   TO THE HONORABLE JOHN F. WALTER:
 2         Plaintiff U.S. Equal Employment Opportunity Commission (the “EEOC”
 3   or “Commission”) and Defendant Kimco Staffing Services, Inc. (hereinafter
 4   “Defendant”) (collectively, “Parties”) hereby jointly stipulate to amend the
 5   Consent Decree in the above-captioned case to extend the term for four (4)
 6   months to ensure Defendant fulfills the requirements of the Consent Decree. (See
 7   Consent Decree, ECF No. 59).
 8         Pursuant to Section VI of the Consent Decree, signed by this Court on
 9   May 25, 2021, the terms of the Consent Decree may be amended or modified by
10   mutual agreement of the Parties in the interests of justice and fairness to
11   effectuate the provisions of the Decree (ECF No. 59 at 5:5-7). Pursuant to
12   Section V of the Consent Decree and this Court’s November 14, 2022, Order,
13   this Court retains jurisdiction until its expiration on February 23, 2024 (ECF No.
14   59 at 4:17-20; ECF No. 63).
15         During the term of the Consent Decree, Defendant failed to timely comply
16   with the Consent Decree and thereafter failed to meet various benchmarks in the
17   Consent Decree. Accordingly, on November 7, 2022, the Parties filed a joint
18   stipulation to extend the Consent Decree by nine (9) months. (See ECF No. 62).
19   On November 14, 2022, this Court entered an Order extending the Consent
20   Decree to February 23, 2024. (See ECF No. 63). Since then, Defendant has
21   made progress coming into compliance with several sections of the Decree.
22   However, Defendant has failed to meet its obligations with respect to the
23   investigation of complaints, as required by Sections XI.B, XI.D, and XI.F of the
24   Consent Decree. (See ECF No. 59 at 14:20-15:8, 17:12-19:8, and 24:10-25:20).
25   These Sections are an integral part of the Consent Decree. The Parties have met
26   and conferred regarding these issues, pursuant to Section VII (Compliance and
27   Dispute Resolution) of the Consent Decree. (See ECF No. 59 at 5:9-27). The
28                                             2
               JOINT STIPULATION TO AMEND CONSENT DECREE & [PROPOSED] ORDER
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 1   Parties believe a four (4) month extension of the Consent Decree is necessary in
 2   the interests of justice and fairness to effectuate Sections XI.B, XI.D, and XI.F of
 3   the Consent Decree. Therefore, the Parties have reached a mutual agreement to
 4   extend the Consent Decree for four (4) months with respect to the requirements
 5   outlined in Sections XI.B, XI.D, and XI.F of the Consent Decree. The Consent
 6   Decree is set to expire on February 23, 2024. Accordingly, the Parties have
 7   mutually agreed to extend all requirements set forth in Sections XI.B, XI.D, and
 8   XI.F of the Consent Decree and stipulated to extend the term of the Consent
 9   Decree through June 24, 2024. As part of this agreement, the Parties agree that
10   Defendant will work with the Monitor, and that the Monitor will provide an exit
11   report regarding Defendant’s complaint investigations 45 days prior to the
12   Consent Decree’s expiration. The Parties also agree that the Parties will
13   continue to be bound by Section VII, the Compliance and Dispute Resolution
14   section. In essence, the Parties have mutually agreed to the following:
15        1.     The Consent Decree shall be extended from February 23, 2024 to
16   June 24, 2024 with respect to Sections VII, XI.B, XI.D, and XI.F to ensure
17   Defendant fulfills its requirements of the Consent Decree, wherein Defendant
18   shall comply with and remain bound by Sections VII, XI.B, XI.D, and XI.F of
19   the Consent Decree until the Consent Decree terminates on June 24, 2024;
20        2.     Defendant’s Monitor shall provide an Exit Report regarding
21   Defendant’s complaint investigations 45 days prior to the Consent Decree’s
22   expiration; and
23        3.     Defendant shall fulfill all benchmarks in the Consent Decree outlined
24   in Sections XI.B, XI.D, and XI.F until the Consent Decree expires on June 24,
25   2024.
26        As such, the Parties stipulate and respectfully request that this Court
27   approve the stipulation that the Consent Decree term be extended for four (4)
28                                            3
               JOINT STIPULATION TO AMEND CONSENT DECREE & [PROPOSED] ORDER
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 1   months as to Sections VII, XI.B, XI.D, and XI.F, with the Consent Decree
 2   terminating on June 24, 2024.
 3        IT IS SO STIPULATED.
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 5   Dated: January 25, 2024          Respectfully submitted,
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                                      U.S. EQUAL EMPLOYMENT
 7                                    OPPORTUNITY COMMISSION
 8                                    By: /s/ Andrea E. Ringer
 9                                       Andrea E. Ringer
                                         Attorney for Plaintiff U.S. EEOC
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11
                                      PETTIT KOHN INGRASSIA LUTZ
12                                    & DOLIN PC
13

14                                    By: /s/ Jennifer N. Lutz
15                                       Jennifer N. Lutz
                                         Attorney for Defendant Kimco Staffing
16                                       Services, Inc.
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              JOINT STIPULATION TO AMEND CONSENT DECREE & [PROPOSED] ORDER
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 1                             FILER’S ATTESTATION
 2         I, Andrea E. Ringer, am the ECF user whose identification and password
 3   are being used to file this JOINT STIPULATION TO AMEND KIMCO
 4   CONSENT DECREE TO EXTEND FROM FEBRUARY 23, 2024 TO JUNE
 5   24, 2024; [PROPOSED] ORDER on behalf of Plaintiff U.S. Equal Employment
 6   Opportunity Commission (“EEOC”) and Defendant Kimco Staffing Services,
 7   Inc. (“Defendant Kimco”). In compliance with Local Rule 5-4.3.4(a)(2), I
 8   hereby attest that Defendant Kimco concurs in the filing’s content and has
 9   authorized the filing.
10

11   Dated: January 25, 2024 Respectfully submitted,
12
                                    U.S. EQUAL EMPLOYMENT
13                                  OPPORTUNITY COMMISSION
14                                  By: /s/
15                                     Andrea E. Ringer
                                       Attorney for Plaintiff U.S. EEOC
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               JOINT STIPULATION TO AMEND CONSENT DECREE & [PROPOSED] ORDER
